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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

MALAIKA FLOYD, an individual; and  )
K. P., a minor, by and through her mother
                                   )
and next friend, MALAIKA FLOYD;    )
                                   )
     Plaintiffs,                   )
 v.                                ) CASE NO. 2:19-cv-434-ECM
                                   )           (WO)
VCP BRIDGE KROFT, LLC; HAMMOND )
RESIDENTIAL GROUP, INC., VARDEN )
CAPITAL PROPERTIES, LLC, and ELITE )
STREET CAPITAL BRIDGE CROFT        )
EQUITY DE, LP,                     )
                                   )
     Defendants.                   )

                  MEMORANDUM OPINION AND ORDER

      Now before the Court is the Plaintiffs’ motion to remand (doc. 19), filed on

July 18, 2019. Defendants VCP Bridge Kroft, LLC, Hammond Residential Group,

Inc., and Varden Capital Properties, LLC filed their response (doc. 21) on August 5,

2019 and the Plaintiffs filed a reply (doc. 30-1) on August 13, 2019. For the reasons

set forth below, the Court concludes that the Plaintiff’s motion for remand is due to

be GRANTED.

       I.    STATEMENT OF FACTS AND PROCEDURAL HISTORY

      On March 10, 2019, the Plaintiffs filed their initial complaint in the Circuit

Court of Montgomery County, a county within the Middle District of Alabama. The


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original complaint named VCP Bridge Kroft, LLC (“VCP”) and Hammond

Residential Group, Inc. (“Hammond”) as defendants, along with sixteen fictitious

parites, as allowed by Alabama Rule of Civil Procedure 9(h). The Plaintiffs noted

in the original complaint that the fictitious defendants described therein, whose true

names were unknown to the Plaintiffs at the time of filing, would be added by

amendment when the true names of the parties were ascertained.

       The Plaintiffs amended their complaint on March 27, 2019, and again on April

9, 2019, to add defendants Varden Capital Properties, LLC, (“Varden”) and Lincoln

Apartment Management Limited Partnership (“Lincoln”)1. As of the filing of the

second amended complaint, the Plaintiffs were citizens of the state of Alabama for

the purposes of diversity jurisdiction. Defendants VCP, Hammond, and Varden

were citizens of other states, but defendant Lincoln was a citizen of the state of

Alabama. As a result, there was not complete diversity among the parties and the

case was not removable to federal court.

       After learning from counsel for the Defendants that “Lincoln Apartment

Management Limited Partnership” was not the correct name of the property

management company at the time of the incident made basis of the complaint, the

Plaintiffs filed a motion on May 29, 2019, to dismiss Lincoln as a defendant and


1
 Lincoln was added as a defendant in the first amended complaint as “Lincoln Property Management,
LLC”, then renamed “Lincoln Apartment Management Limited Partnership” in the second amended
complaint.

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contemporaneously filed a third amended complaint naming Elite Street Capital

Bridge Croft Equity DE, LP (“Elite Street”) as a defendant. Elite Street is a

Delaware corporation for the purposes of diversity jurisdiction, therefore, after

Lincoln was dismissed from the action and Elite Street was added, complete

diversity of citizenship was achieved and the case became removable to federal court

pursuant to 18 U.S.C. § 1446(b)(3).

      Elite Street was served with process on May 31, 2019. Subsequently,

defendants VCP, Hammond, and Varden (“Consented Defendants”) filed a notice of

removal (doc. 1) with this Court on June 20, 2019, alleging that Elite Street was not

properly joined as a defendant in the third amended complaint. The Consented

Defendants attached as exhibits to their notice the original, amended, second

amended, and third amended complaints, along with the state court record. The

Consented Defendants answered the third amended complaint in federal court on the

same day. (Docs. 2, 3, and 4). Elite Street, however, answered the third amended

complaint in state court on June 28, 2019.

      The Plaintiffs filed their motion to remand (doc. 19) on July 18, 2019, arguing

that the removal was procedurally defective pursuant to 18 U.S.C. 1446(b)(2)(A)

because Elite Street had not consented to the removal. The Consented Defendants

responded to the motion on August 5, 2019 (doc. 21), alleging that Elite Street had

been improperly substituted as a party in the third amended complaint and, as a


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result, Elite Street’s consent was not required to remove this action to federal court.

Plaintiffs replied on August 13, 2019 (doc. 30-1), arguing that Alabama’s fictitious

party practice allowed the Plaintiffs to substitute additional defendants when the

proper names of those defendants became known to the Plaintiffs.

                          II.    STANDARD OF REVIEW

A. Removal Generally

      Federal courts are courts of limited jurisdiction. Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 377 (1994); Burns v. Windsor Ins. Co., 31 F.3d 1092,

1095 (11th Cir. 1994). Accordingly, these courts only have the power to hear cases

over which the Constitution or Congress has given them authority. See Kokkonen,

511 U.S. at 377. Congress has empowered the federal courts to hear cases removed

by a defendant from state to federal court if the plaintiff could have brought the

claims in federal court originally. See 28 U.S.C. § 1441(a); Caterpillar Inc. v.

Williams, 482 U.S. 386, 392 (1987).            Federal courts may exercise diversity

jurisdiction over civil actions where the amount in controversy exceeds $75,000

exclusive of interest and costs, and the action is between citizens of different states.

28 U.S.C. § 1332(a)(1). However, “removal statutes are construed narrowly; where

plaintiff and defendant clash about jurisdiction, uncertainties are resolved in favor

of remand.” Burns, 31 F.3d at 1095.




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B. Removal Under § 1446(b)(3)

        The Consented Defendants removed this action under the subsection of § 1446

that reopens the removal period for thirty days when the defendant receives a

document “from which it may first be ascertained that the case is one which is or has

become removable.” § 1446(b)(3). The procedure for removal under § 1446(b)(3)

is governed by Lowery v. Alabama Power Co., 483 F.3d 1184 (11th Cir. 2007),

overruled on other grounds by Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

752 (11th Cir. 2010); see also Sallee v. Ford Motor Co., No. 2:13-CV-806, 2014

WL 1492874, at *4–5 (M.D. Ala. 2014) (relying on Lowery to explain the procedure

governing § 1446(b)(3) removals); Erby v. Pilgrim's Pride, No. 2:16-CV-0497, 2016

WL 3548792, at *7 (N.D. Ala. 2016) (finding that Lowery remains “the binding

framework for removing under § 1446(b)(3)”).

        Where a plaintiff timely challenges the propriety of removal under §

1446(b)(3), as the Plaintiffs have done here, a defendant must “unambiguously

establish federal jurisdiction.” Lowery, 483 F.3d at 1213; see also Advantage Med.

Elecs, LLC v. Mid-Continent Cas. Co., No. 14-0045, 2014 WL 1764483, at *5 (S.D.

Ala.     2014)   (“Lowery’s   unambiguously     establish   burden   replaces    [the

preponderance-of-the-evidence] burden when a plaintiff challenges the procedural

propriety of a removal under [§ 1446(b)(3)] by . . . timely moving to remand under

§ 1447(c)” (citation and internal quotation marks omitted)).


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      The district court must “review the propriety of removal on the basis of the

removing documents.” Lowery, 483 F.3d at 1211. Removing documents include “all

documents before the court when it reviews the propriety of removal” that are

relevant to making such assessments. Pretka v. Kolter City Plaza II, Inc., 608 F.3d

744, 773 n.28 (11th Cir. 2010) (citing Sierminski v. Transouth Fin. Corp., 216 F.3d

945, 949 (11th Cir. 2000)). If this evidence is insufficient to establish proper

removal and jurisdiction, “neither the defendants nor the court may speculate in an

attempt to make up for the notice's failings.” Lowery, 483 F.3d at 1214–15.

                                 III.   DISCUSSION

A. The Parties’ Positions

     The Plaintiffs move for remand on the basis that the Consented Defendants’

notice of removal is procedurally defective because Defendant Elite Street did not

join in the removal of this action. Relying on the “rule of unanimity,” where “all

defendants who have been properly joined and served must join in or consent to the

removal of the action,” the Plaintiffs assert that Elite Street’s failure to consent to

the removal of this action deprives this Court of jurisdiction. 28 U.S.C. § 1446(c);

see also Bailey v. Janssen Pharmaceutica, Inc., 536 F.3d 1202, 1207 (11th Cir.

2008) (“The unanimity rule requires that all defendants consent to and join a notice

of removal in order for it to be effective.”). The Plaintiffs contend that Elite Street

was properly joined in the state court action because Alabama Rule of Civil


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Procedure 9(h) allows fictitious party pleading, wherein a plaintiff may designate

fictitious parties in the complaint and later amend the complaint to substitute the true

party’s name. Ala. R. Civ. P. 9(h). The Plaintiffs named fictitious parties in each of

the initial, amended, second amended, and third amended complaints.

      The Consented Defendants, on the other hand, argue that Elite Street was never

properly joined as a party because, pursuant to Alabama Rule of Civil Procedure 21,

which governs misjoinder issues, parties may only be dropped or added by an order

of the court. Ala. R. Civ. P. 21. The Consented Defendants assert that the Plaintiffs

improperly attempted to join Elite Street as a defendant by means of substituting

Elite Street for Lincoln in the third amended complaint, without an order of the state

court.2 The Consented Defendants also argue that had it been properly joined, Elite

Street would have consented to removal. This contention is supported by a consent

to removal document signed by counsel for Elite Street on August 2, 2019, and

attached as Exhibit A to the Consented Defendants’ response to the Plaintiffs’

motion to remand. (Doc. 21-1).

B. Elite Street is a Proper Defendant in this Action

      The parties here focus on issues of joinder, substitution of parties, and fictitious

party pleading under Rules 9 and 21 of the Alabama Rules of Civil Procedure. Ala.



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  This argument is undermined by the fact that Elite Street filed an answer to the third amended complaint
in the state court.

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R. Civ. P 9(h) and 21. The issue of whether Elite Street was a proper defendant in

the state court action at the time of removal, however, is a matter governed by Rule

15 of the Alabama Rules of Civil Procedure, which addresses amended and

supplemental pleadings. Ala. R. Civ. P. 15. Rule 15 specifies that “unless a court

has ordered otherwise, a party may amend a pleading without leave of court . . . at

any time more than forty-two (42) days before the first setting of the case for trial .

. . .” Ala. R. Civ. P. 15(a) (emphasis added). The state court docket attached as an

exhibit to the Consented Defendants’ notice of removal (doc. 1-5) shows that, as of

the date of removal, this case had not been set for trial in state court. Therefore, the

Plaintiffs could, without leave of court, amend their complaint to add or drop parties,

as they did in the first, second, and third amended complaints.

     The Plaintiffs filed their third amended complaint on May 29, 2019, dropping

Lincoln as a defendant and adding Elite Street. At that time, consistent with

Alabama state law, the third amended complaint became the operative complaint in

the action, superseding any previously filed complaints. See Holley v. St. Paul Fire

& Marine Ins. Co., 396 So. 2d 75, 79 (Ala. 1981) (noting that once an amended

pleading is interposed, the original pleading no longer performs any function); see

also Grayson v. Hanson, 843 So. 2d 146, 149 (Ala. 2002) (holding that an amended

complaint superseded the previously filed complaint and became the operative

pleading.). No further court orders were necessary to join Elite Street as a defendant


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and all other complaints were nullities. This Court finds that, at the time of removal,

Elite Street was a proper defendant in the state court action and was therefore

required to consent in the removal action.

C. Unanimous Consent is not Present

     Pursuant to 18 U.S.C. 1446(b)(3), “a notice of removal may be filed within

thirty days after receipt by the defendant . . . of a copy of an amended pleading,

motion, order or other paper from which it may first be ascertained that the case is

one which is or has become removable.” 18 U.S.C. § 1446(b)(3). The instant case

became removable based on diversity jurisdiction upon the service of the Plaintiffs’

third amended complaint, as complete diversity was achieved when Lincoln was

dropped as a defendant and Elite Street was added.

     “[T]he law is well settled that in cases involving multiple defendants, all

defendants must consent to the removal of a case to federal court.” Russell Corp. v.

Am. Home Assurance Co., 264 F.3d 1040, 1049 (11th Cir. 2001). The unanimity rule

“must be strictly interpreted and enforced because of the significant federalism

concerns arising in the context of federal removal jurisdiction.” Id. Because Elite

Street was a proper defendant, it was required to consent to the removal of this

action.   In their response to the motion to remand (doc. 21), the Consented

Defendants argue that had Elite Street been properly joined in state court, it would

have consented to removal. However, Elite Street was served with process on May


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31, 2019, but did not join in or consent to the notice of removal which was filed with

this Court on June 20, 2019 (doc. 1). Instead, Elite Street answered the third

amended complaint in state court on June 28, 2019, eight days after the case was

removed.

      Although the Consented Defendants assert that Elite Street would consent to

removal, such consent is evidenced only by way of an exhibit attached to the

Consented Defendants’ response to the motion to remand (doc. 21-1), which was

not filed until August 5, 2019. 3 Given that Elite Street was served with process on

May 31, 2019, and should have been on notice that the case was removed, this

purported consent, even if effective, was filed well beyond the thirty-day period in

which a defendant may consent to removal. 18 U.S.C. § 1446(b)(2)(B); see also

Lowery, 483 F.3d at 1212–13 (“Regardless of the type of case, a defendant must

remove within thirty days of receiving the document that provides the basis for

removal.”); see also Nathe v. Pottenberg, 931 F. Supp. 822, 825 (M.D. Fla. 1995)

(“To effect removal, each defendant must join in the removal by signing the notice

of removal or by explicitly stating for itself its consent on the record, either orally or

in writing, within the 30-day period prescribed in 28 U.S.C. § 1446(b).”). Because

Elite Street has not timely consented, this Court finds that the removal is


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  Notably, to date, Elite Street has not filed anything in this Court. Although Elite Street filed an answer in
state court, the case had been removed eight days earlier, divesting the state court of jurisdiction.
Accordingly, Elite Street has not properly appeared in this action.

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procedurally defective.

D. Defendants Have Not Unambiguously Established Federal Jurisdiction

     As Lowery mandates, a defendant must “unambiguously establish federal

jurisdiction” to succeed in removing a case to federal court. Lowery, 483 F.3d at

1213. Construing the unanimous consent rule strictly, as this Court is required to,

Elite Street’s failure, as a properly named defendant, to timely consent to removal

renders this Court without jurisdiction over this action. The Consented Defendants

have failed to carry their burden to unambiguously establish that removal is proper

and that this Court has jurisdiction over an action where not all defendants have

consented to removal. Accordingly, it is

     ORDERED that the Plaintiffs’ motion to remand (doc. 19) is GRANTED.

     This action is REMANDED to the Circuit Court of Montgomery County,

Alabama. The Clerk of the Court is DIRECTED to take the appropriate steps to

effectuate the remand.

      DONE this 5th day of November, 2019.


                                      /s/ Emily C. Marks
                                EMILY C. MARKS
                                CHIEF UNITED STATES DISTRICT JUDGE




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